
The case came upon a motion to dismiss the petition in error.
The trial in the common pleas was had on the 24th day of June, 1893, at which time a motion was made to arrest the case from the jury, which motion was sustained, and plaintiff excepted, and on the 8th of August, 1895, the plaintiff deposited in the office of the clerk of the court of common pleas a bill of exceptions in order to have the same 'signed and allowed, and at the next term of said court; to-wit, the October term, 1895. The Judge of said court of common pleas, on the 15th day of October, 1895, signed said bill of' exceptions, which was within the first five days of said October term, 1895, of said court of common pleas.
Sleeper, Sayre &amp; Davis, for plaintiff in error.
Grosrenor, Jones &amp; Worstell, for defendant in error.
The record was silent and failed to disclose any of the reasons named in the proviso of said section 5301 Rev. Stat. for allowing the bill of exceptions to be signed and allowed and filed wi.thin five days after the first day of the next succeeding term, and the bill of exceptions not having been signed, allowed and filed within fifty days from and after the day the decision was made:
By the Court: Held, that there was no bill of exceptions, and the motion to dismiss the petition in error was sustained, and said petition in error of the plaintiff was dismissed, with costs.
